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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

HUGO LOVO, et al.,                  §
    Plaintiffs,                     §
                                    §
v.                                  §
                                    §          CIVIL ACTION NO. 4:16-CV-853-Y
EXPRESS COURIER INTERNATIONAL, §
INC., d/b/a LSO FINAL MILE, et al., §
      Defendant.                    §



                             ORDER OF DISMISSAL



      Before the Court is Plaintiffs’ and Defendant’s Joint Stipulation of Dismissal,

filed December 16, 2019 (doc. 131). The Court determines that all claims asserted by

plaintiffs Hugo Lovo, Bashar Masoud, Mark Urbina, Luis Castellanos, Kaima C. Wilder,

Surah Bajracharya, Khalid Alfeed, Tariq Alfeed, Sanjiv Prajapati, Corey Tatum, Glennis

Davis, Robert Woodrow, and Khalid Bira (“Plaintiffs”) against Express Courier Interna-

tional, Inc., d/b/a LSO Final Mile (“Defendant”) should be dismissed.

      Accordingly, it is ORDERED that all claims of Plaintiffs against Defendant are

hereby DISMISSED WITH PREJUDICE and this lawsuit is DISMISSED IN ITS

ENTIRETY. Plaintiffs and Defendant shall bear their own legal fees and costs except

as otherwise specified in their settlement agreement.

SIGNED January 10, 2020.

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                                              TERRY R. MEANS
                                              UNITED STATES DISTRICT JUDGE
